
Turlet, J.
delivered the opinion of the court.
On the trial of this case in the Circuit Court, the plaintiff offered in evidence the deposition of John W. Caldwell, taken by the defendants, to the reading of which defendants objected, upon the ground, that no notice of the time and place of taking the same was shown. This objection was overruled by the court, and the deposition permitted to be read.
It is now contended that the deposition should have been rejected because the order made for taking it purports to have been made in a case of George Monteeth, Administrator, vs. Thomas Caldwell and Wm. Daniel, Executors, and not in the case of John Monteeth, &amp;c. This objection cannot be permitted to avail, for two reasons.
1st. We have repeatedly held, that if testimony be objected to on the trial for an insufficient reason, other reasons cannot be urged in a court of errors; for possibly if they had been la-*14ken on the trial, they might have been obviated, or other proof unobjectionable to the same point have been adduced.
2d. Though the order be made in the name of George Mon-tceth, Adm’r, instead of John Monteeth, yet it appears from the record that the order was really made in the case of John Mon-teeth, and this court must infer that the insertion of the name of George in the stead of John was a clerical mistake, which does not vitiate the deposition, and this, the more especially as it was taken by the defendants.
There is nothing in the other objections taken to the judgment. Let it, therefore, be affirmed.
